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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA

       Plaintiff.                                    Crim. No, 07-509(DRD)

       V.                                    :       ORDER

ERIC CORBIN

       Defendant.



       Defendant having moved for a reduction of his 90 months sentence pursuant to 18 U.S.C.

§ 3582(c)(2), and the court having heard argument of counsel for the parties, and for the reasons
set forth in an opinion of even date,


       It is this   day of January, 2012 ORDERED that Defendant’s motion is granted and his

sentence is reduced from 90 months to 60 months with all other provisions of the original

sentence to remain the same.



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                                                    DICKINSON R. DEBEVOISE
